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UNITED ST ATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------){
LARRY JOSEPH AND PETER SAVITZ
PARTNERS,                                                              16 Civ. 3554 (VM)

                                              Plaintiff,               CIVIL CASE MANAGEMENT
                                                                       PLAN AND SCHEDULING
                  -against-                                            ORDER
MOBILEYE, N.V.,

                                              Defendant.
------------------------------------------------------------------){
This Scheduling Order and Case Management Plan is adopted in accordance with Fee. R. Civ. P.
16-26(f).

1.       This case ill} (is not) to be tried to a jury: [circle one]

2.      Joinder of additional parties to be acc,omplished by            June 30, 20 I 7.

3.       Amended pleadings may be filed without leave of the Court until                   August 31, 2017.

4.       Initial disclosure pursuant to Fed. R. Civ. P. 26(a)(l) to be completed within fourteen
         (14) days of the date of the parties' conference pursuant to Rule 26(f), specifically by not
         later than              February 22, 2017

5.       All fact disco\'ery is to be completed either:

        a.        Within one hundred twenty ( 120) days of the date of this Order, specifically by
                  not later than                                ; or

         b.       Within a period exceeding 120 days, with the Court's approval, if the case
                  presents unique complexities or other exceptional circumstances, specifically by
                  not later than       July 31, 2017

6.      The parties are to conduct discovery in accordance with the Federal Rules of Civil
        Procedure and the Local Rules of the Southern District of New York. The following
        interim deadlines may be extended by the parties on consent without application to the
        Court, provided the parties are certain that they can still meet the discovery completion
        date ordered by the Court.

        a.        Initial requests for production' of documents to be served by            February 22, 2017

                  Responses to initial requests for production of documents by March 22, 2017

                  Document Production (on a rolling basis) March 22, 2017 through May 31, 2017

         b.       Interrogatories to be served by all parties by (non-contention) March 31, 2017
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        c.       Depositions to be completed by                  (fact witnesses) July 31, 2017

                 i.         Unless the parties agree or the Court so orders, depositions are not to be
                            held until all parties have responded to initial requests for document
                            production.

                 ii.        Depositions of all parties shall proceed during the same time.

                 iii.       Unless the parties agree or the Court so orders, non-party depositions shall
                            follow party depositions when possible.       The parties have agreed that
                            non-party discovery will be conducted simultaneously with party
                            discovery

        d.       Any additional contemplated discovery activities and the anticipated completion
        date:

                  Depositions to be taken on reasonable notice; the parties will work together in
                 good faith to schedule depositions

                      The parties will work together in good faith to prepare an acceptable protective


        e.       Reque~ts     to Admit served no later than: (and contention interrogatories) July 31,
        2017

7.      All expert discovery (ordinarily conducte9 following the completion of fact discovery)
        including parties' expert reports and depositions, witness lists and identification of
        documents pursuant to Fed. R. Civ. P. 26(a)(2), (3) and 35(b), is to be completed by:

        a.       Expert. Reports (simultaneous exchange) by August 14, 2017

        b.       Rebuttal Reports (simultaneous exchange) by August 24, 2017

        c.       Expert Depositions to be completed by September 14, 2017

8.      Contemplated motions:

        a. Dispositive motions to be filed by October 16, 2017

        b. Opposition briefs to be filed by _-"-N~o-'-ve=m=be=-=r__l=-3_._,2~0'""1-'-7_

        c. Reply briefs to be filed by         November 27, 2017

9.      Following all discovery, all counsel must meet for at least one hour to discuss settlement,
        such conference to be held by not later than October 16, 2017

10.     Do all parties consent to trial by a Magistrate Judge under 28 U.S.C. § 636(c)?

                            Yes



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TO BE COMPLETED BY THE COURT:
11.     The next Case Management Conference is scheduled for:        P--J-/--// a;/ t":tJe<f./1 .
         In the event the case is to proceed to trial, a firm trial date and the deadline for
submission of the Joint Pretrial Order and related documents shall be scheduled at the
pretrial conference following either the completion of all discovery or the Court's ruling on
any dispositive motion.
        The Joint Pretrial Order should be prepared in accordance with Judge Marrero's
Individual Practices. If this action is to be tried before a jury, proposed voir dire and jury
instructions shall be filed with the Joint PretHal Order. No motion for summary judgment
shall be served after the deadline fixed for the Joint Pretrial Order.


SO ORDERED:


DATED:        tf-/1~          ,2017
               N w York, New York




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